        Case 1:22-cv-00871-VEC                Document 140          Filed 07/09/25 Page 1 of 5
                                                                               USDC SDNY
                                                                               DOCUMENT
                                                                               ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                   DOC #:
SOUTHERN DISTRICT OF NEW YORK                                                  DATE FILED: 7/9/25
 -------------------------------------------------------------- X
 BRIAN FLORES, STEVE WILKS, and RAY                             :
 HORTON, as Class Representatives, on                           :
 behalf of themselves and all others similarly                  :
 situated,                                                      :
                                                                :
                                              Plaintiff,        :
                            -against-                           :
                                                                :
 THE NATIONAL FOOTBALL LEAGUE; NEW :
 YORK FOOTBALL GIANTS, INC. d/b/a NEW :
 YORK GIANTS; MIAMI DOLPHINS, LTD. d/b/a :                              22-CV-0871 (VEC)
 MIAMI DOLPHINS; DENVER BRONCOS                                 :
 FOOTBALL CLUB d/b/a DENVER BRONCOS; :                                       ORDER
 HOUSTON NFL HOLDINGS, L.P. d/b/a                               :
 HOUSTON TEXANS; ARIZONA CARDINALS :
 FOOTBALL CLUB LLC d/b/a ARIZONA                                :
 CARDINALS; TENNESSEE TITANS                                    :
 ENTERTAINMENT, INC. d/b/a TENNESSEE, :
 TITANS and JOHN DOE TEAMS 1 through 26, :
                                                                :
                                              Defendants. :
 -------------------------------------------------------------- X

VALERIE CAPRONI, United States District Judge:

        WHEREAS on January 23, 2025, Michael Caspino filed a Notice of Appearance in this

case, in which he wrote: “I am admitted or otherwise authorized to practice in this court,” and his

signature block stated, “Pro Hac Vice Pending,” see Dkt. 135;

        WHEREAS on June 5, 2025, Mr. Caspino filed a notice of withdrawal of appearance of

counsel, see Dkt. 136, and the Court directed the Clerk of Court to terminate Mr. Caspino as

counsel for Plaintiff Steve Wilks, see Dkt. 137;

        WHEREAS on June 16, 2025, the Court received a copy of a June 2, 2025 Order from

the District of Arizona in McDonough et al. v. Bidwell et al, No. 24-CV-764, in which that Court
       Case 1:22-cv-00871-VEC           Document 140         Filed 07/09/25      Page 2 of 5




suspended Mr. Caspino from practicing law in the District of Arizona for one year for the

unauthorized practice of law and for making misrepresentations to the Court;

       WHEREAS upon receipt of the order in McDonough, the Court investigated whether Mr.

Caspino was, as he had represented, admitted or otherwise authorized to practice in this Court

and discovered that it appeared that he is neither barred in the State of New York nor admitted to

practice in the Southern District of New York (“SDNY”);

       WHEREAS the Court ordered Mr. Caspino to show cause by July 7, 2025, why the Court

should not refer him to the disciplinary panel of this Court to consider whether he should be

sanctioned for his misconduct. See Dkt. 138 (“the Order”). The Order required Mr. Caspino to

provide a certificate of good standing from each state in which he is a member of the bar and

explain, under oath: 1) how he was able to file a Notice of Appearance in SDNY on ECF despite

not being a member of the bar for the Southern District of New York; 2) why his signature block

in filings at docket entries 135 and 136 states “Pro Hac Vice Pending” despite the fact that Mr.

Caspino never filed a motion to be admitted Pro Hac Vice in SDNY; 3) why he represented in

the notice of appearance that he is “admitted or otherwise authorized to practice in this court”

when it appears that it not accurate; 4) why as of June 17, 2025, his website

(https://www.pricecaspino.com/michael-caspino) continued to represent falsely that he is a

member of the Arizona bar; and 5) unless he provided a certificate of good standing from the

bars of California, Colorado, and Nevada, why, as of June 17, 2025, his website represented that

he is a member of the bars of those states. The Order indicated that if Mr. Caspino failed to

provide at least one certificate of good standing from the bar of at least one state, then his

submission must also address why a criminal referral for the unauthorized practice of law would

not be appropriate;



                                                   2
       Case 1:22-cv-00871-VEC            Document 140        Filed 07/09/25      Page 3 of 5




       WHEREAS on July 7, 2025, Mr. Caspino filed a declaration in response to the Order,

stating that he is licensed to practice law in California;

       WHEREAS Mr. Caspino also represented that he had reinstated his membership with the

Arizona Bar, although he is currently under investigation by that bar;

       WHEREAS Mr. Caspino stated in his declaration that he was attaching a Certificate of

Good Standing from the State of California, but he actually attached a Certificate of Good

Standing from the U.S. District Court for the Central District of California;

       WHEREAS the Order required Mr. Caspino to submit a certificate of good standing from

each state in which is he is admitted to practice, not a certificate of good standing from district

courts in which he is admitted to practice;

       WHEREAS Mr. Caspino did not explain how he was able to file a Notice of Appearance

in SDNY on ECF despite not being a member of the SDNY bar;

       WHEREAS Mr. Caspino stated that his bar licenses in Colorado and Nevada had lapsed;

       WHEREAS Mr. Caspino stated and the Court has confirmed that his firm’s website

(https://www.pricecaspino.com/michael-caspino) has been updated to reflect that he is only

licensed to practice in California but failed to explain why, as of June 17, 2025, the website

falsely represented that he was authorized to practice in Arizona, Colorado and Nevada;

       WHEREAS Mr. Caspino stated that the Notice of Appearance that he filed on January

23, 2025, erroneously represented that he was “admitted or otherwise authorized to practice in

this Court” but failed to explain how such an “error” could have been made;

       WHEREAS Mr. Caspino admitted that he represented in the Notice of Appearance that a

motion for pro hac vice admission was “pending” despite having not filed a motion for

admission pro hac vice, explaining that it has been his long-standing practice to represent that

admission pro hac vice was “pending” whenever he planned to move for such admission;

                                                   3
       Case 1:22-cv-00871-VEC           Document 140        Filed 07/09/25      Page 4 of 5




       WHEREAS Mr. Caspino provided no explanation for how he understood the word

“pending” to mean “it will be pending when the motion is filed”;

       WHEREAS Mr. Caspino represented that he did not perform any substantive work in this

case, did not bill the client for any work, and did not file any other documents in the case other

than the Notice of Appearance;

       WHEREAS Mr. Caspino represented that he never filed a motion for admission pro hac

vice because a decision was made at some undisclosed time that he would not be representing

Mr. Wilks in this matter; and

       WHEREAS Mr. Caspino failed to respond to the portion of the Order that required him to

explain why he should not be referred to the disciplinary panel of this Court in light of his

misconduct.

       IT IS HEREBY ORDERED that Mr. Caspino is ordered to explain, under oath, how he

was able to file a Notice of Appearance in SDNY on ECF despite not being a member of the

SDNY bar and to provide a Certificate of Good Standing from the California Bar by no later than

July 31, 2025.

       IT IS FURTHER ORDERED that, also not later than July 31, 2025, Mr. Caspino must

provide a more complete explanation of how he came to represent falsely that he was “admitted

or otherwise authorized to practice in this court;” when it was decided that he would not

represent Mr. Wilks in this action; why he thought it appropriate to state that admission pro hac

vice was pending when no motion had been made; when his membership in the bars of Nevada

and Colorado lapsed; when he was reinstated to the Arizona Bar and proof from the Arizona Bar

that he has, in fact, been reinstated; and why he should not be referred to the disciplinary panel of

this Court in light of his admitted misrepresentations to the Court.



                                                  4
      Case 1:22-cv-00871-VEC          Document 140        Filed 07/09/25             Page 5 of 5




       The Clerk of Court is respectfully directed to mail a copy of this Order to Show Cause to

Michael Caspino at 30442 Esperanza, Rancho Santa Margarita, CA 92688 and to email a copy to

mcaspino@pricecaspino.com.



SO ORDERED.

                                                              _______________________________________________________

Date: July 9, 2025                                               VALERIE CAPRONI
New York, New York                                              United States District Judge




                                                5
